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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

 

Case No.: CV 20-11752 SB (PVCx) Date: March 4, 2020

 

Title: Terry Fabricant v. Envision Capital Group LLC

 

 

Present: The Honorable STANLEY BLUMENFELD, JR., U.S. District Judge

 

Victor Cruz N/A
Deputy Clerk Court Reporter
Attorney(s) Present for Plaintiff(s): Attorney(s) Present for Defendant(s):
None Appearing None Appearing

Proceedings: [In Chambers]

On 1/29/2021, the parties filed a stipulation that Defendant Envision Capital
Group LLC. would file its response to the complaint by 3/3/2021. No response
being filed, Plaintiff is hereby ordered to show cause in writing by not later then
March 17, 2021, why this action should not be dismissed for lack of prosecution.

The court will consider the filing of the following as an appropriate response
to this Order to Show Cause, on or before the above date:

Answer by the Defendant(s) or Plaintiff's request for entry of default;

In accordance with Rule 78 of the Federal Rules of Civil Procedure and
Local Rule 7-15, no oral argument of this matter will be heard unless ordered by
the court. The Order will stand submitted upon the filing of the response to the
Order to Show Cause. Failure to respond to the court's Order may result in the
dismissal of the action.

IT IS SO ORDERED.

CV-90 (12/02) CIVIL MINUTES — GENERAL Initials of Deputy Clerk VPC

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